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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

NACS, et al., )
)
Plaintiffs, )
)
v. ) Civil Case No. 11-2075 (RJL)
)
BOARD OF GOVERNORS OF THE )
FEDERAL RESERVE SYSTEM, ) bs E i - D
) f
Defendant. ) JUN 1 4 2015
re . Clerk, U.S. District & Bankruptcy
Courts for the District of Columbia
ORDE

(June | 0). 2015)

Consistent with the District of Columbia Circuit’s decision in NACS v. Board of
Governors of the Federal Reserve System, 746 F.3d 474 (D.C. Cir. 2014), it is hereby

ORDERED that this case is REMANDED to the Board of Governors of the
Federal Reserve System (the “Board” for further consideration consistent with the
Circuit’s decision; it is further

ORDERED that within 60 days from the date of this Order, the Board will
articulate a reasonable justification for determining that transactions-monitoring costs
properly fall outside the fraud-prevention adjustment; it is further

ORDERED that within 30 days from the date on which the Board offers the
foregoing justification, the parties shall submit a joint status report containing their

suggestions for how this case should proceed; and it is further
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ORDERED that the case shall remain STAYED until such time as ordered

otherwise.

SO ORDERED.

 

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RICHARD J. LEON
United States DistrictYudge
